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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________
                                                     )
SECURITIES AND EXCHANGE                              )
COMMISSION,                                          )
                                                     )
                              Plaintiff,             )
                                                     )
               against                               )       NO. 18-CV-942 (JGK)
                                                     )
NICHOLAS J. GENOVESE,                                )
WILLOW CREEK INVESTMENTS, LP., and                   )
WILLOW CREEK ADVISERS, LLC.,                         )
                                                     )
                               Defendants.           )



                          DECLARATION OF JAMES K. HANSON

               I, James K. Hanson, pursuant to 28 U.S.C. 1746, declare as follows:

       1.      I am over the age of 18. I am an attorney admitted to practice before this Court. I

am currently Senior Counsel in the New York Regional Office of Plaintiff the Securities and

Exchange Commission (“SEC” or “Plaintiff”). I submit this declaration in support of Plaintiff’s

motion for Summary Judgments and/or Default Judgments against Nicholas Genovese, Willow

Creek Investments, LP and Willow Creek Advisors, LLC (collectively the “Defendants”).


       2.      Attached to this declaration are true and correct copies of the

following documents:



       Exhibit (“Ex.”)                Document

       Ex. 1                          Criminal Complaint in United States v. Nicholas John

                                      Genovese (“U.S. v. Genovese”) 18 MAG 835, filed on

                                      February 2, 2018.

       Ex. 2                          Indictment in U.S. v. Genovese, No. 18 Crim. 183, filed on
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                                      March 1, 2018.

         Ex. 3                        Transcript of Genovese’s guilty plea allocution in U.S. v.

                                      Genovese, filed on October 29, 2018.

         Ex. 4                        Transcript of the sentencing hearing in U.S. v Genovese,

                                      dated February 11, 2020.

         Ex. 5                        Judgment in U.S. v. Genovese, imposed on February 11,

                                      2020.

         Ex. 6                        Restitution order in U.S. v. Genovese, filed on April 20,
                                      2020.

         Ex. 7                        Prejudgment Calculation Table on Disgorgement.

         Ex. 8                        Proposed judgment against the Defendants.




I declare under penalty of perjury (under the laws of the United States of America) that the

foregoing is true and correct.

Dated:           October 23, 2020
                 New York, New York


                                                            /S/
                                                            ____________________________
                                                            James K. Hanson




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                                CERTIFICATE OF SERVICE

I am over the age of 18 years and not a party to this action. My business address is:

       U.S. SECURITIES AND EXCHANGE COMMISSION
       200 Vesey Street, Suite 400, New York, Ney York 10281
       Telephone No. (212) 336-0178; Facsimile No. 703-813-3282.

On October 23, 2020, I caused to be served the document Declaration of James K. Hanson, dated
October 23, 2020 with attached exhibits, on all the parties to this action addressed as stated on
the attached service list:



In Nicholas J Genovese’ personal capacity and in his capacity of owning or controlling
Willow Creek Investments LP. and Willow Creek Advisers, LLC.




CERTIFIED MAIL
Nicholas J. Genovese, #17079-104
MDC Brooklyn
Metropolitan Detention Center
P.O. Box 329002
Brooklyn, NY 11232



                                                       ____________________________
                                                          Alexander Vasilescu




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